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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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        CHARLES LYNN MURRAY, JR.,                         CASE NO. 15-CV-5720 RJB
11                                                                 96-CR-5367 RJB
                                Petitioner,
12                                                        ORDER ON MOTION TO
                  v.                                      RECONSIDER ORDER ON
13                                                        MOTION UNDER 28 U.S.C. § 2255
        UNITED STATES OF AMERICA,                         TO VACATE, SET ASIDE, OR
14                                                        CORRECT SENTENCE BY A
                                Respondent.               PERSON IN FEDERAL CUSTODY
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            This matter comes before the Court on the government’s Motion for Reconsideration of
17
     Order Granting Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §
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     2255. Dkt. 18. The Court has considered the pleadings filed regarding the motion, and the
19
     remainder of the file herein.
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            The facts are in the November 19, 2015 Order on Petitioner’s Motion to Vacate, Set
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     Aside, or Correct Sentence under 28 U.S.C. § 2255 (Dkt. 16, at 1-4) and are adopted here. That
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     Order granted Petitioner’s motion.
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     ORDER - 1
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 1          The government now files a Motion for Reconsideration (Dkt. 18) arguing that the Court

 2 “overlooked or misapprehended” its arguments and the holdings of various cases. It argues that

 3 Petitioner’s claims are procedurally defaulted, that he has not shown that a Johnson v. United

 4 States, 135 S.Ct. 2551 (2015) error occurred, and any claim under Descamps is time barred. Dkt.

 5 18.

 6       Local Rule W.D. Wash. 7(h)(1) provides: “[m]otions for reconsideration are disfavored. The

 7 court will ordinarily deny such motions in the absence of a showing of manifest error in the prior

 8 ruling or a showing of new facts or legal authority which could not have been brought to its

 9 attention earlier with reasonable diligence.”

10          The government’s motion for reconsideration (Dkt. 18) should be denied. It has not

11 shown a “manifest error in the prior ruling.” It has not shown “new facts or legal authority

12 which could not have been brought to the [Court’s] attention earlier with reasonable diligence.”

13          It argues that the Court failed to consider the holdings of (or its argument regarding)

14 Marrero v. Ives, 682 F.3d 1190, 1193-94 (9th Cir. 2012) and its application to Bousley v. United

15 States, 523 U.S. 614 623 (1998). These cases should not alter the Court’s decision. Marrero,

16 which was a case addressing sentence enhancements under the guidelines, was not a case where

17 the law had changed, unlike here with Johnson. Further, it specifically held that it was not

18 resolving the “question whether a petitioner may ever be actually innocent of a noncapital

19 sentence for the purpose of qualifying for the [§2241] escape hatch.” Id., at 1193. Moreover, the

20 Court there recognized that other circuits have “suggested that a petitioner may qualify for the

21 escape hatch if he received a sentence for which he was statutorily ineligible” or “that a

22 petitioner might be actually innocent of a sentencing enhancement if the sentence resulted from a

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 1 constitutional violation.” Id., at 1194-1195. Petitioner asserted both here. The decision to

 2 excuse Petitioner from the procedural default should be affirmed.

 3          The government argues that Petitioner did not show that an error under Johnson was

 4 committed, and again maintains that any claim under Descamps is time barred. Petitioner

 5 sufficiently showed that a Johnson error occurred. Further, “actual innocence, if proved, serves

 6 as a gateway through which a petitioner may pass whether the impediment is a procedural bar

 7 [or] . . . expiration of the statue of limitations.” McQuiggin v. Perkins, 133 S.Ct. 1924, 1928

 8 (2013). Petitioner’s showing of “actual innocence” of being an “armed career criminal” is

 9 sufficient to excuse both the procedural bar or time bar. The decision to grant his petition should

10 be affirmed.

11                                               ORDER

12          Therefore, it is hereby ORDERED that:

13         The Motion for Reconsideration of Order Granting Petitioner’s Motion to Vacate, Set

14          Aside, or Correct Sentence under 28 U.S.C. § 2255 (Dkt. 18) is DENIED;

15         The November 19, 2015 Order on Petitioner’s Motion to Vacate, Set Aside, or Correct

16          Sentence under 28 U.S.C. § 2255 (Dkt. 16) is AFFIRMED.

17          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

18 to any party appearing pro se at said party’s last known address.

19          Dated this 20th day of November, 2015.



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22                                        ROBERT J. BRYAN
                                          United States District Judge
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     ORDER - 3
